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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NORTH DAKOTA

In re:                                           )       Bky. Case No. 22-30249
                                                 )       Chapter 7
Sharon L. Anton,                                 )
                                                 )       NOTICE AND MOTION
                         Debtor.                 )       FOR APPROVAL OF
                                                 )       CARVE-OUT AGREEMENT

       Gene W. Doeling, the bankruptcy trustee in this case, respectfully requests that the Court
approve a Carve-Out Agreement entered into with Bravera Wealth, f/k/a American Trust Center, as
personal representative of the Estate of Antonia Anton (hereafter referred to as “Estate of Antonia
Anton”), dated December 5, 2022. The Agreement, in essential part, provides as follows:

         The Estate of Antonia Anton obtained a money judgment against the debtor in the amount of
         $361,028.27 and was docketed in Stark County on January 31, 2022.

         The debtor has an undivided one-half ownership interest in real estate located in Stark County
         legally described as:

                                 Township 140 North, Range 97 West
                                 Section 24: NE¼
                                 Section 24: NW¼

         The debtor’s sister Lorraine Faulhaber is trustee of the Antonia Anton land trust, which owns
         the other undivided one-half interest in the real estate.

         The Estate of Antonia Anton’s judgment which was docketed in Stark County on January 31,
         2022, created a judicial lien against the debtor Sharon Anton’s one-half interest in both parcels
         of real estate.

         There are no other liens or mortgages against this real property.

         The bankruptcy estate is seeking to sell the bankruptcy estate’s one-half interest in this real
         estate.

         The trustee of the Antonia Anton land trust and the bankruptcy estate have agreed to a partition
         of the real property.

         Through the settlement of the partition action, the bankruptcy estate will receive the Northeast
         Quarter (NE¼) of Section 24, Township 140 N., Range 97 W., and the Antonia Anton land
         trust will receive the Northwest Quarter (NW¼) of Section 24, Township 140 N., Range 97
         W.

         The Estate of Antonia Anton agrees that it will release its judgment lien from the Northwest
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       Quarter (NW¼) of Section 24, Township 140 N., Range 97 W., and will retain its judgment
       lien against the Northeast Quarter (NE¼) of Section 24, Township 140 N., Range 97 W.,
       which will be sold and administered by the bankruptcy estate.

       The Estate of Antonia Anton and the bankruptcy estate agree that the bankruptcy estate shall
       receive a carve-out of 15% of the net funds received from the sale of the real estate, free and
       clear of the Estate of Antonia Anton’s judgment lien. The Estate of Antonia Anton’s judgment
       lien shall attach to the other 85% of the net proceeds, and shall receive those funds up to the
       amount necessary to satisfy the judgment lien. Net proceeds are defined as gross sale proceeds
       less costs of sale, taxes, or miscellaneous expenses required to pass clear title of the real estate
       to a buyer.

       A copy of the Carve-Out Agreement may be obtained by contacting the bankruptcy trustee.
The bankruptcy estate will not incur a tax consequence as a result of this transaction.

NOTICE OF MOTION: Your rights may be affected in this action. You should read these papers
carefully and discuss the matters with your attorney if you have one. Any objections to this motion
must be made within 21 days of this date with an original filed with the Clerk of Bankruptcy Court
and copies served upon the Bankruptcy Trustee and United States Trustee at the addresses stated
below. Failure to timely respond to this motion will be deemed a waiver of any objections and the
Court will grant such relief as it deems appropriate.

Clerk, U.S. Bankruptcy Court                    United States Trustee                     Trustee
Quentin N. Burdick U.S. Courthouse              300 S. 4th Street                         (See
655 First Ave. N. – Suite 210                   Suite 1015                                address
Fargo, ND 58107-4932                            Minneapolis, MN 55415                     below)

DATED: December 5, 2022                         /s/ Gene W. Doeling
                                                Bankruptcy Trustee
                                                P.O. Box 9231
                                                Fargo, ND 58106
                                                (701) 232-8757
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 4                                    UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NORTH DAKOTA
 5
      IN RE:                                                       CASE NO: 22-30249
 6
       SHARON L ANTON                                              DECLARATION OF MAILING
 7                                                                 CERTIFICATE OF SERVICE
                                                                   Chapter: 7
 8

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11   On 12/5/2022, I did cause a copy of the following documents, described below,
     Notice and Motion for Approval of Carve-Out Agreement
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     to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
19   sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
     incorporated as if fully set forth herein.
20   I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
     com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
21   Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
     fully set forth herein.
22
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
     served electronically with the documents described herein per the ECF/PACER system.
23
     DATED: 12/5/2022
24                                                    /s/ Gene W. Doeling
                                                      Gene W. Doeling 05078
25                                                    Bankruptcy Trustee
                                                      Kaler Doeling, PLLP
26                                                    3429 Interstate Blvd. S.
                                                      Fargo, ND 58103
27                                                    701 232 8757
                                                      heather@kaler-doeling.com
28
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 1                                                      Document     Page 4 of 6

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                                       UNITED STATES BANKRUPTCY COURT
 4                                         DISTRICT OF NORTH DAKOTA
 5
        IN RE:                                                           CASE NO: 22-30249
 6
        SHARON L ANTON                                                   CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
 7
                                                                         Chapter: 7
 8

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11   On 12/5/2022, a copy of the following documents, described below,

     Notice and Motion for Approval of Carve-Out Agreement
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19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 12/5/2022
23

24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Gene W. Doeling
                                                                  Kaler Doeling, PLLP
28                                                                3429 Interstate Blvd. S.
                                                                  Fargo, ND 58103
             Case AS
PARTIES DESIGNATED 22-30249      DocNOT
                      "EXCLUDE" WERE  34 SERVED
                                           FiledVIA
                                                  12/05/22
                                                    USPS FIRST Entered   12/05/22
                                                                CLASS MAIL         11:48:12
                                                                           (D)=DUPLICATE ADDRESSDesc Main
                                             DocumentRECEIVED
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE"      Page   5 of 6 NOTICE THROUGH THE CM/ECF SYSTEM
                                                                  ELECTRONIC

CASE INFO                                                                        EXCLUDE
1LABEL MATRIX FOR LOCAL NOTICING         (P)ATLAS ACQUISITIONS LCC               US BANKRUPTCY COURT
NCRS ADDRESS DOWNLOAD                    492C CEDAR LANE SUITE 442               655 1ST AVENUE NORTH   SUITE 210
CASE 22-30249                            TEANECK NJ 07666-1713                   FARGO ND 58102-4932
DISTRICT OF NORTH DAKOTA
MON DEC 5 9-16-52 PST 2022



EXCLUDE
(D)(P)ATLAS ACQUISITIONS LCC             BERGER ELECTRIC INC                     CAPITAL ONE
492C CEDAR LANE SUITE 442                265 21ST STREET E                       PO BOX 60599
TEANECK NJ 07666-1713                    DICKINSON ND 58601-3256                 CITY OF INDUSTRY   CA 91716-0599




COMENITY BANK                            CREDIT ONE BANK NA                      DANIEL J FRISK
VICTORIAS SECRET                         PO BOX 60500                            SCHWAB THOMPSON FRISK
PO BOX 659728                            CITY OF INDUSTRY CA 91716-0500          820 34TH AVENUE EAST STE 200
SAN ANTONIO TX 78265-9728                                                        WEST FARGO ND 58078-7991




DANIEL J FRISK                           EBELTOFT SICKLER LAWYERS    PLLC        ESTATE OF ANTONIA ANTON
SCHWAB THOMPSON FRISK                    2272 EIGHTH ST W                        BRAVERA BANK PERSONAL REPRESENTATIVE
820 34TH AVE E STE 200                   DICKINSON ND 58601-8590                 2272 8TH STREET WEST
WEST FARGO ND 58078-7991                                                         DICKINSON ND 58601-8590




MIDLAND CREDIT MANAGEMENT                MIDLAND CREDIT MANAGEMENT    INC        (P)PORTFOLIO RECOVERY ASSOCIATES LLC
350 CAMINO DE LA REINA                   PO BOX 2037                             PO BOX 41067
SUITE 100                                WARREN MI 48090-2037                    NORFOLK VA 23541-1067
SAN DIEGO CA 92108-3007




QUANTUM3 GROUP LLC AS AGENT FOR          SCOTT T SOLEM                           SOLEM LAW OFFICE
SADINO FUNDING LLC                       PO BOX 249                              PO BOX 249
PO BOX 788                               BEULAH ND 58523-0249                    BEULAH ND 58523-0249
KIRKLAND WA 98083-0788




                                                                                 EXCLUDE
STARK COUNTY DISTRICT COURT              STARK COUNTY SHERIFF                    THOMAS F MURTHA IV
51 3RD STREET E                          66 MUSEUM DR W                          MURTHA LAW OFFICE
DICKINSON ND 58601-5254                  DICKINSON ND 58601-3864                 PO BOX 1111
                                                                                 DICKINSON ND 58602-1111




UHG I LLC                                DAN FRISK                               DARREL D HORAB
CO ATLAS ACQUISITIONS LLC                SCHWAB THOMPSON FRISK                   HORAB WENTZ
492C CEDAR LANE STE 442                  820 34TH AVENUE EAST SUITE 200          PO BOX 1021
TEANECK NJ 07666-1713                    WEST FARGO ND 58078-7991                FARGO ND 58107-1021




EXCLUDE
GENE W DOELING                           ROBERT B RASCHKE                        SCOTT W WENTZ
BANKRUPTCY TRUSTEE                       ASSISTANT US TRUSTEE                    HORAB WENTZ
3429 INTERSTATE BLVD S                   SUITE 1015 US COURTHOUSE                PO BOX 1021
PO BOX 9231                              300 SOUTH FOURTH STREET                 FARGO ND 58107-1021
FARGO ND 58106-9231                      MINNEAPOLIS MN 55415-1320
             Case AS
PARTIES DESIGNATED 22-30249      DocNOT
                      "EXCLUDE" WERE  34 SERVED
                                           FiledVIA
                                                  12/05/22
                                                    USPS FIRST Entered   12/05/22
                                                                CLASS MAIL         11:48:12
                                                                           (D)=DUPLICATE ADDRESSDesc Main
                                             DocumentRECEIVED
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE"      Page   6 of 6 NOTICE THROUGH THE CM/ECF SYSTEM
                                                                  ELECTRONIC

DEBTOR
SHARON L ANTON                           THOMAS FRANCIS MURTHA IV
11470 33RD ST SW                         MURTHA LAW OFFICE
DICKINSON ND 58601-9406                  PO BOX 1111
                                         DICKINSON ND 58602-1111
